                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION


UNITED STATES OF AMERICA,

           Plaintiff

V.                                              NO. 3:15 -CR-0070-8
                                                Judge Trauger/Brown
JORGE FLORES,

           Defendant

                                O R D E R

           A telephone conference was held with the parties in this

matter on April 3, 2017. Defendant's attorney is attempting to get

his outside medical records, which dealt with the need for him to

have surgery for tumors at the back of his knee. Apparently, this

was scheduled before he was incarcerated.

           The parties discussed the possibility of moving Defendant

to another institution. The United States Attorney is requested to

discuss this with the Marshals Service and see if this is possible.

It may be useful if Marshal Dill, or other appropriate

representatives, could be a party to the telephone conference call,

which will be set to further discuss this matter on Monday, April

10, 2017, at 1:30 p.m. To participate in the conference call,

parties will call 877-873-8017 and enter Code 1958322# at the

scheduled time.

           Defendant's counsel was attempting to see if the FCI

Lexington was a feasible place to house the Defendant. The Marshals




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Service should be in a position to advise whether this is feasible

or not.
           While the Defendant is entitled to adequate medical care,

as a rule the Courts are not in the best position to determine this

issue or in managing jails or prison systems.

           Certainly, the Court has no objection to the Defendant

being placed in another facility while in pretrial detainment.

However, the Marshals Service is in the best position to advise on

this. There may well be restrictions on the placement of Defendants

since this is a multi-Defendant case.

           It is so ORDERED.

                                         /s/ Joe B. Brown
                                         JOE B. BROWN
                                         United States Magistrate Judge




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